                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION
                                   No. 4:18-CV-35-BO


ATLANTIC COAST PIPELINE, LLC,                        )
               Plaintiff,                            )
                                                     )
        V.                                           )                      ORDER
                                                     )
3 .13 ACRES , MORE OR LESS, IN HALIFAX               )
COUNTY, NORTH CAROLINA et al. ,                      )
                   Defendants.                       )



       This cause comes before the Court on a motion by the defendant landowner seeking

attorneys' fees and costs. Plaintiff has responded in opposition and has filed a motion seeking

leave to serve limited discovery . The appropriate responses and replies have been filed and the

matters are ripe for ruling.

        The statute under which attorney fees and costs may be recovered requires that the fees and

costs awarded must have been actually incurred. 42 U.S.C. § 4654(a). Plaintiff has demonstrated

that a brief period of limited discovery is warranted in order to determine the import of an

agreement in this case that the defendant landowner' s fees and costs would be paid by the Blue

Ridge Environmental Defense League.

       Plaintiffs motion for leave to serve limited discovery [DE 65] is therefore GRANTED IN

PART. Any discovery requests shall be reasonable and limited to this narrow inquiry.

       Any interrogatories shall be served not later than January 19, 2021 , and any response shall

be served not later than February 9, 2021 .

        Should the parties require any additional briefing following the limited discovery period

they may request as much by motion.




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SO ORDERED, this   _jJ_ day of January, 2021.


                                         TERRENCE W. BOYLE
                                         UNITED STATES DISTRICT JUD




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